294 F.2d 261
    111 U.S.App.D.C. 65
    CHAUFFEURS, TEAMSTERS AND HELPERS LOCAL UNION NO. 175,INTERNATIONAL BROTHERHOOD OF TEAMSTERS,CHAUFFEURS, WAREHOUSEMEN AND HELPERS OFAMERICA, Petitioner,v.NATIONAL LABOR RELATIONS BOARD, Respondent.
    No. 15957.
    United States Court of Appeals District of Columbia Circuit.
    Argued May 29, 1961.Decided July 6, 1961.
    
      Mr. Herbert S. Thatcher, Washington, D.C., with whom Mr. David Previant, Milwaukee, Wis., was on the brief, for petitioner.
      Mr. Hans J. Lehmann, Atty., N.L.R.B., with whom Messrs. Stuart Rothman, General Counsel, N.L.R.B., Dominick L. Manoli, Assoc.  Gen. Counsel, N.L.R.B., and Marcel Mallet-Prevost, Asst. Gen. Counsel, N.L.R.B., were on the brief, for respondent.
      Mr. Harry S. Littman, Washington, D.C., filed a brief on behalf of McJunkin Corp., as amicus curiae, urging affirmance.
      Before WILBUR K. MILLER, Chief Judge, EDGERTON and WASHINGTON, Circuit judges.
      PER CURIAM.
    
    
      1
      In aid of a strike against McJunkin Corporation in Charleston, West Virginia, the union (1) picketed its plant, (2) told employees of neutral trucking concerns, over the telephone, that the plant was picketed, expressly or impliedly asking them to respect the picket line, and (3) at the premises of one neutral concern, Miami Transportation Company, induced its employees not to unload a McJunkin truck for transshipment.  This last was a clear violation of 8(b)(4)(A) of the National Labor Relations Act as amended, 29 U.S.C. 158(b)(4) (A), but there was no evidence that any other action of the union had any illegal purpose or effect.  The Board's order is apparently intended to prevent the union from inducing employees of any trucking concern to respect the picket line at McJunkin's plant.  But peaceful primary picketing and its normal incidents, including requests to neutrals not to cross the picket line, cannot be forbidden though the union has acted illegally elsewhere.  The case will be remanded to the Board with directions to modify its order so that it will not be broader than the one the Hearing Examiner had recommended.  As so modified, the order will be enforced.
    
    
      2
      Order modified.
    
    
      3
      WILBUR K. MILLER, Chief Judge (dissenting).
    
    
      4
      My view is that the Board's order should be enforced without modification.
    
    